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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                          Case No.     3:17-cv-00939-WHA
19                        Plaintiff,                     DEFENDANTS’ RESPONSE TO
                                                         WAYMO’S SUPPLEMENTAL BRIEF
20          v.                                           REGARDING HASLIM TESTIMONY
21   UBER TECHNOLOGIES, INC.,                            Date:    May 3, 2017
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                   Time:    7:30 a.m.
22                                                       Ctrm:    8, 19th Floor
                          Defendants.                    Judge:   The Honorable William Alsup
23
                                                         Trial Date: October 2, 2017
24
            REDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL
25

26

27
28

     DEFENDANTS’ RESPONSE TO WAYMO’S SUPPLEMENTAL BRIEF REGARDING HASLIM TESTIMONY
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 1   I.     WAYMO’S SUPPLEMENTAL BRIEF SHOULD BE STRICKEN

 2          The Court invited Waymo to submit excerpts from the further deposition of Uber engineer

 3   James Haslim; instead, Waymo submitted a 15-page substantive brief, misrepresenting

 4   Mr. Haslim’s testimony, raising new issues, and rehashing Waymo’s old arguments. Waymo’s

 5   supplemental brief should be stricken in its entirety, except for the quotes and citations to

 6   Mr. Haslim’s testimony.

 7          At the hearing on May 3, 2017, Defendants volunteered to make Mr. Haslim available for

 8   additional deposition time. The Court gave Waymo four additional hours to depose Mr. Haslim

 9   and permitted Waymo to submit any “home run” testimony from Mr. Haslim by May 8 (Hearing

10   Tr., May 3, 2017 at 1pm, p. 77):

11                  MR. JAFFE: So, your Honor, we will take the deposition.

12                  THE COURT: All right. Let’s do it tomorrow morning,
                    9:00 a.m. And let’s say you’ve got four hours max. And then
13                  you – if you hit my [sic] home runs in there, you have submit it by
                    Monday. Because I’m going to try to get an order out next week,
14                  so submit it by Monday.

15   On May 4, 2017, Waymo deposed Mr. Haslim for 5.5 additional hours on the record.

16          The Court did not authorize Waymo to file an additional substantive brief, yet that is

17   exactly what Waymo has done. Even if Waymo’s submission had just included quotes and

18   citations to Mr. Haslim’s testimony, it would have exceeded the Court’s authorization, as there

19   was no home-run testimony or finding from Mr. Haslim’s deposition. But Waymo’s

20   May 8 supplemental brief goes far beyond including just relevant excerpts from Mr. Haslim’s

21   testimony—it contains 15 pages of technical arguments re-treading Waymo’s various trade secret

22   theories. It is prejudicial and unfair for Waymo to grant itself additional substantive briefing

23   when the Court asked only for “home run” deposition testimony. Waymo’s brief should be

24   stricken.

25          Alternatively, if the Court is not inclined to strike Waymo’s brief, Defendants respectfully

26   request permission to respond to Waymo’s improper arguments. Below is Defendants’ proposed

27   response. At minimum, Defendants respectfully request that the Court accept, for the sake of

28   completeness, Defendants’ counter-designations of relevant testimony in the boxes below, so that

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 1   the Court may consider this testimony alongside the testimony identified by Waymo.

 2   II.    DEFENDANTS’ RESPONSE TO WAYMO’S SUPPLEMENTAL BRIEF
 3          Waymo misstates Mr. Haslim’s May 4 deposition testimony1 on the alleged trade secrets

 4   and Anthony Levandowski’s past and current role with respect to Defendants’ LiDAR. The “rule

 5   of completeness” requires that Mr. Haslim’s full relevant testimony on these issues, provided

 6   below, be considered.2

 7          A.      Mr. Haslim’s Testimony3 Confirms That Fuji Does Not Use
                                               , As Defined by Waymo’s Own Expert
 8
            Waymo claims Mr. Haslim confirmed that the                         between Fuji’s diodes
 9
                            (Br. 4-5), but omits his testimony that the
10
                                      as defined by Waymo’s own expert, Gregory Kintz.4 Waymo
11
     misleadingly quotes Mr. Haslim’s testimony concerning the
12
                 (Br. at 5 (quoting Haslim testimony on
13
                                                           )), but that is not how Mr. Kintz defines
14
                         in Waymo’s alleged trade secret. At his deposition (quoted below), Mr. Kintz
15
     specifically defined the
16
                                                             . When Mr. Haslim applied Mr. Kintz’s
17
     definition of the                   between diodes, he confirmed that Fuji’s diodes do not
18

19

20   1
       Excerpts to the Haslim transcript are attached as Yang Ex. 1, and a full transcript as Yang Ex. 6.
     2
       Rule 106 of the Federal Rules of Evidence states: “If a party introduces all or part of a writing
21   or recorded statement, an adverse party may require the introduction, at that time, of any other
     part — or any other writing or recorded statement — that in fairness ought to be considered at the
22   same time.” See also In re Chase Bank USA, N.A. CHECK LOAN Contract Litigation, 274
     F.R.D. 286, 288 fn. 1 (N.D. Cal May 13, 2011) (granting leave to file supplemental declaration
23   attaching additional deposition transcript excerpts that “provide context for the excerpts on which
     plaintiffs rely”).
24   3
       While Waymo argues that Mr. Haslim had private conferences with counsel, Mr. Haslim
     confirmed on the record that he and counsel did not discuss the subject matter of his testimony or
25   how he should testify, and only discussed procedural issues—specifically, how much time was
     left on the record and the expected length of the redirect, but not what the redirect questions were
26   or the substance of the redirect. (Haslim Tr. 143:25-144:3, 145:6-8, 146:1-147:2.)
     4
       Mr. Kintz also compared the
27                               . (Yang Ex. 2, Kintz Tr. 54:1-12, 89:17-90:6.) Mr. Haslim confirmed
     that looking at              , Fuji diodes do not                                     . (Haslim
28   Tr. 186:14-187:1.)
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 1                 :5

 2          Mr. Kintz’s April 26 Deposition                  Mr. Haslim’s May 4 Deposition
     Q By                                             Q. Could you describe generally how you
 3                                                    calculated that or determined that?
                                                 is   A. Yeah. So
 4   that correct?
     A No. I was computing the –
 5                .
     Q Using                               ?
 6   A Yes.                                                          I don’t know if you need any
     (Yang Ex 2, Kintz Tr. at 50:16-21.)              more --
 7                                                    Q. Is there a name for that equation that you
     Q Okay. And in order to calculate                just described?
 8                                                    A.
                                                                                            or -- yeah.
 9                                                    (Haslim Tr. at 181:5-16.)
10                                                    Q. Same question for the distance between
                                                      diodes. Is that distance
11                                                                                        ?
     (Yang Ex. 2, Kintz Tr. at 83:2-9.)               A. No. The linear distance is not
12

13

14                                                    (Haslim Tr. at 187:2-9; see Yang Ex. 4, Exhibit
                                                      1060 to Haslim Dep.)
15
                                                      Does the
16

17
                                                                                     ?
18                                                    THE WITNESS: There is a
19

20
21                                                    (Haslim Tr. at 192:2-11; see Yang Ex. 4,
                                                      Exhibit 1060 to Haslim Dep.)
22
            B.      Mr. Haslim Confirmed That Mr. Boehmke’s Custom Beam Spacing for Fuji
23                  Determined the Positioning of Fuji’s Laser Diodes
24          Waymo argues that Mr. Haslim’s testimony revealed a “gap” between Mr. Boehmke’s
25   custom beam spacing for Fuji (                              ) and the                   of the
26
     5
       Inexplicably, Waymo argues that Mr. Haslim explained the “correct way” to determine
27             (Br. at 5), but it is not Mr. Haslim’s role to define               in Waymo’s own
     alleged trade secret, particularly given that Mr. Haslim has no access to Waymo’s alleged trade
28   secret descriptions (which is marked Waymo AEO).
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 1   laser diodes on the              (Br. at 6-7). However, Waymo omits Mr. Haslim’s testimony

 2   confirming that Mr. Boehmke’s custom beam spacing drove the placement of Fuji’s laser diodes.

 3                                    Mr. Haslim’s May 4 Deposition
     Q. And you were asked about whether there was any evidence that the information you received
 4   from Scott Boehmke referred to in this paragraph was actually used in Fuji, and you referred to
     CAD files. What did you -- what CAD files are you referring to?
 5   THE WITNESS: I was referring --
     THE WITNESS: I was referring to mechanical CAD files in the SolidWorks software created
 6   by Gaetan that have the angles specified by Scott Boehmke that end up terminating in a set of
     points for each laser diode emitting point. He then also included a CAD model of the laser board
 7   outline that he developed that also had those same emitting points on there. And then, finally,
     you can see the theta angle matches the prescribed angles that we got from Scott.
 8   (Haslim Tr. 198:23-199:16.)
 9   Q. Can you explain step by step the process from going from the angles that you received from
     Scott --
10   A. Okay.
11   Q. -- to what ultimately ended up being the diode placement angles reflected in Exhibit B of
     your original declaration and marked as Exhibit 155 for your deposition?
12   THE WITNESS: My understanding of the process that led to the coordinates we have in Exhibit
     155, starting with angles that Scott Boehmke provided, was that Gaetan designed a lens in
13   Zemax. We had decided on 150 millimeter focal length, chosen material for the lens. From the
     lens optimization provided by the Zemax software, we had the focal length behind the lens to the
14   beginning of a focal surface. And he had a radius of curvature for the focal surface. From that
15   information in Zemax, you can take that into SolidWorks software, model up a curved surface
     with the same radius of curvature as the focal surface defined by Zemax. That could be -- he
16   modeled that at a location behind the lens with a consistent focal length developed in Zemax.
     He then, as I understand it, created lines or rays in the CAD geometry that reflected the vertical
17   angles specified by Scott Boehmke, one by one, individually, for the different beam angles
     for the          boards in the mid-range cavity. He extended those lines or rays until it
18   intersected this curved focal surface. The point of intersection defined the location for the laser
19   diodes emitting surface. He then put that into his model, modeled a PCB behind that.
     (Haslim Tr. 199:18-201:4.)
20
            C.      Mr. Haslim’s Lack of Knowledge About Mr. Boehmke’s Pre-Ottomotto
21                  Documents Does Not Discredit Mr. Boehmke’s Independent Development
                    Work
22
            In an effort to undermine Mr. Boehmke’s independent development work that led to Fuji,
23
     Waymo points to Mr. Haslim’s lack of knowledge about Uber’s “Plan B” design mentioned in a
24
     May 2016 document created by Mr. Boehmke. Mr. Haslim cannot be expected to testify about
25
     Mr. Boehmke’s document from May 2016, months before Mr. Haslim joined Uber as part of
26
     Uber’s acquisition of Ottomotto in August 2016. Mr. Boehmke explained at his deposition that
27
28

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 1   Uber’s Plan B design, referenced in his May 2016 “LiDAR Thoughts” document, became Fuji6:

 2           Mr. Haslim’s May 4 Deposition                      Mr. Boehmke’s Testimony
     Q. I’ve marked as Exhibit 157 a document with     Q Plan B was -- did it have a name other than
 3   the slip sheet labeled “Exhibit H.” And then      plan B?
     the document underlying that says, “LiDAR         A It turned into Fuji.
 4   Thoughts.” Is this a document that you were       Q And then what was plan C?
     referring to before that Mr. Levandowski,         A Plan C was the Spider.
 5   Anthony Levandowski that is, called you about     (Yang Ex. 3, Boehmke Tr. at 58:18-22)
     and discussed?
 6   THE WITNESS: No, this is not, to my
     recollection, the same document. There does
 7   appear to be some features in here, but for
     reasons I don’t understand, there seems to be
 8   pages I’m not familiar with.
     (Haslim Tr. at 138:14-24.)
 9
     Q. And, actually, before we get there, going
10   back to the first page, it’s dated May 16th,
     2016. You worked at Otto at that time; right?
11   A. I believe I did, yes.
     Q. And you had had conversations with Mr.
12   Boehmke by that time?
     A. Probably not.
13   (Haslim Tr. at 139:6-12.)
14            D.    Mr. Haslim Confirmed His Independent Development of Fuji’s
                    Transmit Block Configuration
15
              Waymo claims that Mr. Haslim “discredits” Defendants’ independent development of
16
     Fuji’s         configuration (Br. at 8-9), but Mr. Haslim confirmed that he came up with the
17
              transmit block configuration:
18
                                  Mr. Haslim’s May 4 Deposition
19   Q. Who was involved in coming up with           ?
     A: In coming up with         ? I would say that was primarily me and the electrical engineer,
20   Florin.
     (Haslim Tr. 72:15-20.)
21
     Q: Where did the idea to have            come from?
22   A:                                                                                           . The
     need to                         developed quickly between Florin and I. Looking at the size of
23   the circuit, knowing when Scott Boehmke defines a certain
              , when Gaetan has designed a lens that has a 150 millimeter focal length, it becomes
24   apparent that the
                                                            . It was obvious to me that wasn't going to
25   work and we would have to                               . Later we went back and looked closer,
26
     6
      Waymo argues that Mr. Boehmke is silent on the authorship of “LiDAR Thoughts” document
27   (Br. at 13), but Mr. Boehmke confirmed that he “documented my thoughts for the
     dual-stack (‘Plan A’) and the Fuji device (‘Plan B’) in the May 2016 ‘LiDAR Thoughts.’” (Supp.
28   Boehmke ¶ 15; see Boehmke Decl. Ex. H at 1 (Boehmke name and email on title page).)
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 1   and I realized, wait a minute,                                  . So we can't put circuits on
                                                                                    . Furthermore,
 2   we were starting to look at components on the receiver. We saw components on the receiver that
     were themselves                    . Those were high voltage components. They needed
 3   additional space between them as well. So it seemed pretty clear at the time
            was not going to work, so we said                 ? Florin thought he could
 4          So that ended up with                       . We already had decided two cavities to
     make 64 channels, so that ended up with                     in the sensor.
 5   (Haslim Tr. 77:15-78:21.)
 6           Instead of addressing this evidence, Waymo mischaracterizes Mr. Haslim’s testimony and

 7   the demonstrative evidence in his declaration.7 Waymo touts Mr. Haslim’s statement that his

 8   October 28, 2016 email was “not indicative” of a           design, but Mr. Haslim has always

 9   stated that the email showed a           per cavity design. (Br. at 8; Haslim Decl. ¶ 11.) Waymo

10   claims Mr. Haslim concedes there is “no documentary evidence” of the development timeline, but

11   Mr. Haslim clarified that there were documents showing the beam angles, lens designs, and

12   circuit design that led to the        configuration:
                                      Mr. Haslim’s May 4 Deposition
13   Q. Okay. So there are no -- there's no documentary evidence to evidence -- to support what you
     just said?
14   A. Not quite. We have documents showing and indicating to us what the vertical angles were to
     be for the sensor as specified by Scott Boehmke. We have a lens design that's documented from
15   Gaetan. We have the original circuit Florin had developed for testing out lasers. At that point, the
     documentation stopped. And we don't have documents for discussions describing how
16                                                               .
     (Haslim Tr. 78:25-79:11.)
17
             Finally, Waymo misstates Mr. Haslim’s testimony regarding Anthony Levandowski’s lack
18
     of involvement in the            configuration:
19
       Waymo’s Supplemental Brief (Br. at 8-9)                      Mr. Haslim’s May 4 Deposition
20   Mr. Haslim explained that it was former             Q. And so Mr. Pennecot was the one who
     Waymo engineer Gaetan Pennecot who                  actually came up with
21   primarily was responsible for the                                     based on Mr. Boehmke’s beam
                                      . (Id. at 262:3-   angles; isn’t that right?
22   264:2.)                                             A. No, I don’t think so.
                                                         ( . . . .)
23

24   7
       Waymo attacks an annotated table included in Mr. Haslim’s declaration that demonstrates how
     the custom beam angles that were independently derived and provided by Mr. Boehmke in
25   November 2016 are actually distributed across the                   (Figure 8.A) and the
             (Figure 8.B) in the Fuji design. (Br. at 8-9) Mr. Haslim’s declaration clearly describes
26   this annotation in his declaration, and Mr. Haslim never identifies the table as contemporaneous
     evidence of the           configuration. (Supp. Haslim ¶ 17.) While Waymo makes much of the
27   fact that this table was initially prepared by Uber’s counsel, Mr. Haslim testified that he checked
     to confirm the accuracy of these annotations before he signed his declaration. (Haslim Tr.
28   234:1-235:16.)
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 1
                                                        Q. Who told Mr. Pennecot to use              ?
 2                                                      A. I told Mr. Pennecot to use              in
                                                        the optical cavity.
 3                                                      (Haslim Tr. 262:14-263:11.)
     And Mr. Haslim admitted that he did not know       Q. So you’re not saying that Mr. Levandowski
 4   whether Mr. Pennecot discussed the design          has never had discussions or input into the idea
     with Anthony Levandowski. (Id. at 74:1-10.)        to use                    ; right?
 5                                                      THE WITNESS: What I am saying is that
                                                        Anthony never had input into my decision with
 6                                                      my electrical engineer to put
                                                               .
 7                                                      (Haslim Tr. 74:11-17.)
 8          E.      Mr. Haslim’s              Testimony Does Not Discredit Mr. Gruver’s
                    Testimony
 9
            Waymo claims that Mr. Haslim discredited Mr. Gruver’s testimony that a
10
                         used                      . (Br. at 9-10; Yang Ex. 5, Gruver Tr. 51:4-52:1.)
11
     Mr. Haslim was                                                            , prior to the launch of the
12
                         . (Haslim Decl. ¶ 3.) Nothing in his testimony discredits Mr. Gruver’s
13
     testimony.
14
            F.      Mr. Haslim Confirmed That Fuji Does Not Use
15
            Waymo misstates Mr. Haslim’s testimony regarding the                   on the Fuji PCBs (Br.
16
     at 10). Mr. Haslim confirmed again that the                                                     :
17
                                      Mr. Haslim’s May 4 Deposition
18   Q. So the original idea was to                                     ?
     A. No.
19   (Haslim Tr. 116:11-13.)
20   Q. Are                                                  on Fuji boards?
     THE WITNESS: No. As I understand it, the
21
     BY MR. KIM:
22   Q. Do you have an understanding as to why there are                listed there?
     A. Yeah. As I was discussing earlier, my understanding is these coordinates referencing the
23               were generated early in the development of Fuji when
                . More specifically, these coordinates were given to the electrical engineer before the
24   electrical engineer had laid out the circuits onto the board and added the fiducial mark onto the
     board.
25   Q. Are there any plans at Uber to use                                        on any transmit boards
     for Fuji?
26   A. Not that I’m aware of.
     (Haslim Tr. 195:21-196:16.)
27
28

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 1          G.      Mr. Haslim’s Testimony Confirms That                                   Is a
                    Publicly Known Technique, Not a Waymo Trade Secret
 2
            Waymo’s claim that Mr. Levandowski communicated a
 3
            to Mr. Haslim that “bears a striking resemblance to Waymo’s trade secret” (Br. 11-12)
 4
     ignores Mr. Haslim’s testimony revealing that this design was “publicly-available information”:
 5
                                     Mr. Haslim’s May 4 Deposition
 6   Q. When you were asked whether or not he gave you any confidential information, you said you
     thought it was general information. What did you mean by that?
 7   A. I believe information Anthony provided regarding a                                    was
     information that I’ve seen other places on the Internet as white papers, as publicly-available
 8   information in terms of architect or configuration for a laser.
     (Haslim Tr. 222:6-15.)
 9
            The circuit Mr. Haslim sketched at his deposition would bear a “striking resemblance” to
10
     any                             because the basic technique is standard and well-known in the
11
     fiber laser field. (Supp. Haslim Decl. ¶ 7; Supp. Lebby Decl. ¶ 42-44.) In his declaration,
12
     Mr. Haslim cited a 2011 published article that discusses
13
     and includes a diagram of the                     .8 Below is a comparison of Mr. Haslim’s
14
     sketch with: (1) Waymo’s alleged trade secret (left) and (2)
15
     from the 2011 published article (right). The components of the                                  in
16
     Mr. Haslim’s sketch are present in the public diagram, including the
17

18
                                                                    . In fact, Mr. Haslim’s sketch more
19
     closely resembles the public diagram than it does Waymo’s alleged trade secret, since the sketch
20
     and the public diagram each contain only
21
                    . In any event, the basic technology of                         is not proprietary
22
     to Waymo.
23

24

25

26
     8
27    See Grzegorz Sobon et al., Controlling the 1 μm spontaneous emission in Er/Yb co-doped fiber
     amplifiers, 19 Optics Express 19106 (2011) (Supp. Haslim ¶ 7 fn. 1) (publicly available at
28   https://www.osapublishing.org/oe/fulltext.cfm?uri=oe-19-20-19104&id=222547.

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 1

 2

 3
          Mr. Haslim’s Sketch
 4

 5

 6

 7

 8

 9

10

11

12
              Waymo’s Alleged Trade Secret                          2011 Public Diagram
13
              H.     Mr. Levandowski Did Not Have Substantive Technical Input to Fuji
14
              Waymo touts Mr. Levandowski’s personal involvement in Defendants’ LiDAR in terms
15
     of managerial activities (e.g., staff meetings), but omits Mr. Haslim’s testimony confirming the
16
     limited nature of Mr. Levandowski’s input on technical issues.9
17
                                     Mr. Haslim’s May 4 Deposition
18   Q. Did Mr. Levandowski have any technical input for the Fuji design?
     A. To my recollection, the only potentially technical input Anthony Levandowski had on the
19   Fuji design were telling us to make it as good as the Velodyne or better. To under-regard any
     concerns given to us from people in Pittsburgh regarding size and weight, that that should not be
20   a prioritized requirement.
     (Haslim Tr. 221:15-24.)
21
     Waymo challenges Mr. Haslim’s “investigation” of Mr. Levandowski’s involvement (Br. at 13),
22
     but Mr. Haslim, a non-30(b)(6) witness, properly testified based on his personal knowledge.10
23
              I.     Mr. Haslim Had Limited Knowledge About Anthony Levandowski’s Laptop
24
              Waymo misrepresents Mr. Haslim’s testimony regarding Mr. Levandowski’s laptop
25
     (Br. 13-14). Contrary to Waymo’s suggestion, Mr. Haslim testified that he did not know if
26

27   9
      Haslim Tr. at 133:2-6.
     10
      Defendants described Mr. Levandowki’s LiDAR-related work in their Interrogatory Response
28   No. 3 (ECF No. 264-4 at 3-5.)
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 1   Mr. Levandowksi brought his personal laptop to work:

 2                                   Mr. Haslim’s May 4 Deposition
     Q. How often did Mr. Levandowski bring his personal laptop to work with him?
 3   THE WITNESS: I couldn’t possibly know.
     Q. Every day?
 4   THE WITNESS: The reason I couldn’t possibly know is I don’t know whether the laptop he may
     have carried was his personal laptop or the work laptop.
 5   (Haslim Tr. 41:1-10.)
 6   Q. You saw him at work with the personal laptop; right?
     A. I’m sure I’ve seen him at work with a laptop.
 7   (Haslim Tr. 41:19-21 (emphasis added.)
 8          J.     Anthony Levandowski Has Been Recused from All LiDAR Development
 9          Waymo claims that Mr. Levandowski’s recusal is ineffective because Mr. Haslim was
10   unaware of a “formal company policy” restricting Mr. Levandowki’s work. (Br. at 14.) But
11   Mr. Haslim, a key engineer in LiDAR development, confirmed that he “received an email” with
12   instructions (Haslim Tr. 54:18-21):
                                     Mr. Haslim’s May 4 Deposition
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15   (Haslim Tr. 55:6-12.)
16   III.   CONCLUSION11
17          The Court invited Waymo to submit any “home run” testimony it obtained from
18   Mr. Haslim. In truth, there was none. Instead, Waymo presents a distorted, incomplete version
19   of what Mr. Haslim said. And takes liberty with the Court’s limited invitation by submitting a
20   substantive brief consisting of 15 pages of technical arguments, when no such leave was given.
21   Accordingly, Waymo’s supplemental brief should be stricken.
22          Alternatively, Defendants’ response to Waymo’s misrepresentations should be accepted,
23   and at minimum, Defendants’ counter-designations of relevant testimony should be considered to
24   complete the record.
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       Waymo also makes irrelevant arguments relating to discrepancies between Mr. Haslim’s
27   identification of LiDAR-related employees and suppliers with the list submitted to the Court by
     Defendants on April 5, 2017. (Br. 14-15.) At the Court’s request, Defendants will make an
28   additional submission providing reasonable explanations for these discrepancies.
     DEFENDANTS’ RESPONSE TO WAYMO’S SUPPLEMENTAL BRIEF REGARDING HASLIM TESTIMONY
     CASE NO. 3:17-cv-00939-WHA
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 1   Dated: May 9, 2017                         MORRISON & FOERSTER LLP

 2
                                                By: /s/Michael A. Jacobs
 3                                                    MICHAEL A. JACOBS
 4                                              Attorneys for Defendants
                                                UBER TECHNOLOGIES, INC.
 5                                              and OTTOMOTTO LLC
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     DEFENDANTS’ RESPONSE TO WAYMO’S SUPPLEMENTAL BRIEF REGARDING HASLIM TESTIMONY
     CASE NO. 3:17-cv-00939-WHA
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